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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                            :
METROPOLITAN REGIONAL
INFORMATION SYSTEMS, INC.,                  :
et al.
                                            :
        Plaintiff, and
        Counterclaim Defendants             :

        v.                                  :   Civil Action No. DKC 12-0954

                                            :
AMERICAN HOME REALTY NETWORK,
INC.                                        :

        Defendant, and                      :
        Counterclaimant
                                            :

                               MEMORANDUM OPINION

        Presently    pending        and     ready     for    resolution      in     this

copyright infringement and antitrust case are: (1) a motion for

summary judgment filed by Counterclaim Defendant the National

Association of Realtors (“NAR”) (ECF No. 410); and (2) three

motions      to   seal   filings     in     connection      with     the   motion    for

summary judgment (ECF Nos. 412, 424, 430).                     The issues have been

fully    briefed     and    the     court    now    rules,     and   no    hearing    is

necessary.        Local Rule 105.6.         For the following reasons, NAR’s

motion for summary judgment will be granted.                       The three motions

to   seal    will   be     denied    without       prejudice    to   renewal      within

fourteen (14) days.
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I.   Background

     The factual and procedural background of this action has

been extensively documented in previous opinions, thus only a

brief summary of those facts relevant to the instant motion for

summary judgment is necessary.          (See ECF Nos. 34, 64, 159, 180-

1, 239, 351).        The Metropolitan Regional Information Systems,

Inc. (“MRIS”) brought a copyright infringement action against

American    Home    Realty   Network,   Inc.   (“AHRN”)      and    Jonathan   J.

Cardella, AHRN’s Chief Executive Officer, on March 28, 2012.1

(ECF No. 1).       MRIS offers an online fee-based “multiple listing

service” (MLS) to real estate brokers and agents.                    Subscribers

upload their real estate listings to the MRIS Database and agree

to assign to MRIS the copyrights in each photograph included in

those listings.

     AHRN is a “San Francisco real estate brokerage referral

services    and    technology   startup     that    provides     information   to

home buyers and sellers, identifying the real estate agents best

suited to assist them in purchasing or selling properties in

their local market on a nationwide basis.”                (ECF No. 167 ¶ 6).

AHRN takes listing data from online database compilers like MRIS

and makes it directly available to consumers on its “real estate

referral”    website.        Specifically,         AHRN   owns     and   operates


     1
       The lawsuit was dismissed against Mr. Cardella for lack of
personal jurisdiction.
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www.neighborcity.com (“NeighborCity”), which connects potential

buyers with real estate agents based on the types of properties

in which a buyer is interested.        Jonathan Cardella declared:

           Although AHRN is a licensed real estate
           broker in the State of California, it does
           not actively engage in providing brokerage
           services for either the sale or purchase of
           any real property, and displays the property
           images and listing data for the sole purpose
           of   attracting    customers   to   use   our
           AgentMatch services in order for AHRN to
           earn   referral    fees   from  third   party
           recipient brokers.

(ECF No. 410-6 ¶ 9).            Mr. Cardella described the AgentMatch

service as follows:

           AHRN    is   compensated    by    matching   and
           referring prospective customers from its
           website to local real estate agents and
           brokers    most   relevant   to   the   property
           actively being viewed or searched on its
           website. AHRN does this through its website
           where it provides AgentMatch[,] its patent
           pending technology, designed to measure and
           publish the relative performance of the
           majority of U.S. professional Realtors, with
           respect to their peers, and uses this
           information to match interested customers
           with the most qualified agents available to
           assist them, at the time of their request.
           AgentMatch does this specifically by using
           the property criteria for the property being
           viewed    on   its   website,   e.g.   latitude,
           longitude, price, bedrooms, etc. and then
           matches that against its database of real
           estate agents and their relative performance
           history selling similar homes.

(Id. ¶ 4) (emphasis added).        If a consumer becomes interested in

a   property   displayed   on    NeighborCity   and   requests   additional


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information, AHRN seeks to arrange a referral of that customer

to a real estate agent.       (ECF No. 411-3, at 9).       If the referral

results   in   a   closed    transaction,   AHRN   seeks   a   thirty   (30)

percent referral fee.         (ECF No. 411-1, at 9, Cardella, depo).

MRIS claimed that AHRN had displayed on its website real estate

listings containing copyrighted photographs taken from the MRIS

Database.

      After MRIS brought its complaint against AHRN for copyright

violations, AHRN brought counterclaims against MRIS, Does # 1-

25, and the National Association of Realtors (“NAR”), alleging,

inter alia, violations of the Sherman Act, 15 U.S.C. § 1 et seq.

Ralph Holmen, Associate General Counsel of the NAR, provided the

following description of NAR:

            NAR is the largest professional association
            in America, with over one million members
            who are involved in all aspects of the
            brokerage of residential and commercial real
            estate.    NAR provides for its members a
            facility for professional development and
            exchange of information related to topics of
            interest to the real estate profession, such
            as the setting of ethical standards for real
            estate professionals, the efficient and
            lawful operation of a Multiple Listing
            Service (“MLS”), and the protection of MLS
            listing content.

(ECF No. 410-2 ¶ 2).        In addition to NAR, there are 54 state and

territorial associations, as well as approximately 1,400 local

associations consisting of real estate professionals.               (Id. ¶

4).   NAR publishes a Handbook on Multiple Listing Policy, which

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serves as a guide for member associations of realtors in their

operation of MLSs.                 (Id. ¶ 6).           The Handbook includes model

rules, policies, and best practices established by NAR’s Board

of Directors.              According to Mr. Holmen, MLSs choose whether to

adopt NAR’s model rules and policies.                          (Id.).       MLSs that adopt

and conform to all mandatory rules and policies are entitled to

coverage under NAR’s errors and omissions professional liability

insurance policy.                 Additional facts will be presented in the

analysis section below.

        AHRN       filed     first    amended     counterclaims         against        MRIS   and

NAR,        and    they    both    moved    to    dismiss.          After    Judge     Williams

issued       several       opinions    (ECF      Nos.    159    &    239),       and   AHRN    was

granted           leave   to   file   second      amended      counterclaims           (ECF    No.

167),2 counts I (Maryland unfair competition) and III (Sherman

Act § 1) against MRIS and NAR remained the only counterclaims.

The    remaining           counterclaims         against     MRIS     were       dismissed      by

memorandum opinion and order issued on March 10, 2014.                                        (ECF

Nos. 351, 352, 355).               On September 12, 2014, MRIS and AHRN filed

a proposed permanent injunction and final order, which reflects,

inter       alia,     that     MRIS   and    AHRN     have     agreed       to    dismiss     with

prejudice           all    pending    claims       between      them.            The   permanent


        2
       The second amended counterclaims asserted the following
causes of action against MRIS and NAR: (1) unfair competition
under Maryland law; (2) unfair competition under California law;
and (3) violation of the Sherman Act § 1. (See ECF No. 167).
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injunction and final order was entered on September 15, 2014.

(ECF No. 420).          Consequently, what remains in the case are two

counterclaims against NAR: (1) unfair competition in violation

of Maryland law (count I); and (2) violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1 (count III).

       NAR moved for summary judgment on September 5, 2014.                   (ECF

No. 410.       AHRN opposed the motion (ECF No. 422), and NAR replied

(ECF No. 429).          The parties also filed motions to seal filings

in connection with the summary judgment motion.                     (ECF Nos. 412,

424,       430).   On    November   24,       2014,   NAR   filed    a   notice   of

supplemental authority, which, among other things, informed the

court that a district court in Minnesota granted the motion for

summary judgment on AHRN’s antitrust counterclaim against the

Regional Multiple Listing Service of Minnesota (“RMLS”) (Case

No. 12-0965, D.Minn.).         (See ECF No. 432).           As NAR acknowledges

in the notice, however, the memorandum opinion granting summary

judgment was filed under seal, and NAR indicates that it does

not have it.       It would be up to NAR to intervene in the case in

Minnesota to try to attempt to access the sealed memorandum

opinion and there is no indication that it has done so.3



       3
       NAR filed a second notice of supplemental authority on
February 17, 2015, stating that AHRN had appealed the summary
judgment order to the United States Court of Appeals for the
Eighth Circuit, but subsequently sought to dismiss the appeal.
(ECF No. 433).
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II.     Standard of Review

        A motion for summary judgment will be granted only if there

exists no genuine dispute as to any material fact and the moving

party    is    entitled      to    judgment    as     a    matter      of    law.      See

Fed.R.Civ.P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986);    Anderson     v.    Liberty    Lobby,     Inc.,        477   U.S.    242,    250

(1986).       Once a properly supported motion for summary judgment

is filed, the nonmoving party is required to make a sufficient

showing on an essential element of that party’s claim as to

which that party would have the burden of proof to avoid summary

judgment.      Celotex, 477 U.S. at 322–23.

        Summary judgment is appropriate under Federal Rule of Civil

Procedure Rule 56(a) when there is no genuine dispute as to any

material      fact,    and   the    moving    party       is    plainly     entitled    to

judgment in its favor as a matter of law.                      In Anderson, 477 U.S.

at 249 (1986), the Supreme Court explained that, in considering

a motion for summary judgment, the “judge’s function is not

himself to weigh the evidence and determine the truth of the

matter but to determine whether there is a genuine issue for

trial.”       A dispute about a material fact is genuine “if the

evidence is such that a reasonable jury could return a verdict

for the nonmoving party.”             Id. at 248.              Thus, “the judge must

ask   himself    not    whether     he   thinks     the        evidence     unmistakably

favors one side or the other but whether a fair-minded jury

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could return a verdict for the [nonmoving party] on the evidence

presented.”       Id. at 252.

      In undertaking this inquiry, a court must view the facts

and the reasonable inferences drawn therefrom “in the light most

favorable to the party opposing the motion.”                        Matsushita Elec.

Indus. Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)

(quoting    United     States     v.    Diebold,    Inc.,     369    U.S.       654,       655

(1962)); see also EEOC v. Navy Fed. Credit Union, 424 F.3d 397,

405 (4th Cir. 2005).            The mere existence of a “scintilla” of

evidence    in    support    of    the    non-moving       party's       case    is        not

sufficient to preclude an order granting summary judgment.                                 See

Anderson, 477 U.S. at 252.

      A “party cannot create a genuine dispute of material fact

through mere speculation or compilation of inferences.”                          Shin v.

Shalala, 166 F.Supp.2d 373, 375 (D.Md. 2001) (citation omitted).

Indeed,    this    court    has   an     affirmative       obligation       to   prevent

factually unsupported claims and defenses from going to trial.

See   Drewitt     v.   Pratt,     999    F.2d    774,     778–79    (4th    Cir.    1993)

(quoting Felty v. Graves–Humphreys Co., 818 F.2d 1126, 1128 (4th

Cir. 1987)).

III. Analysis

      A.    NAR’s Motion for Summary Judgment

      Count III of the second amended counterclaims alleges a

violation   of     Section   1    of     the    Sherman    Act,     15     U.S.C.      §    1.

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Section 1 prohibits “[e]very contract, combination in the form

of trust or otherwise, or conspiracy, in restraint of trade or

commerce among the several States, or with foreign nations.”

“This provision has been interpreted to preclude only restraints

that are ‘unreasonably restrictive of competitive conditions.’”

Imaging Center, Inc. v. Western Maryland Health Systems, Inc.,

158 F.App’x 413, 418 (4th Cir. 2005) (quoting Cont’l Airlines,

Inc.       v.   United    Airlines,     Inc.,     277    F.3d   499,      508   (4th   Cir.

2002)).         To establish a violation of Section 1 of the Sherman

Act,       a    plaintiff    must     prove   two   elements:       (1)    a    contract,

combination,        or    conspiracy;     (2)     that    imposed    an    unreasonable

restraint of trade.4            Dickson v. Microsoft Corp., 309 F.3d 193,

202 (4th Cir. 2002).

       The       Fourth     Circuit    elaborated        on   the   two    elements     in

Imaging Center, Inc., 158 F.App’x at 418:

                      The first element requires a concerted
                 action by two or more persons.    Laurel Sand
                 & Gravel, Inc. v. CSX Transp., Inc., 924
                 F.2d 539, 542 (4th Cir. 1991). This element
                 is satisfied even where “one or more of the
                 co-conspirators        acted     unwillingly,
                 reluctantly,    or   only    in response   to
                 coercion.”      Dickson, 309 F.3d at 205
                 (quoting MCM Partners, Inc. v. Andrews-
                 Bartlett & Assocs., 62 F.3d 967, 973 (7th

       4
       As Judge Williams stated in his earlier opinion, “the
viability of AHRN’s unfair competition claim under Maryland law
[] relies on the same set of facts as the Sherman Act § 1 claim”
and the parties do not dispute this point. (ECF No. 239, at 12
n.7).


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            Cir. 1995)).        Trade-restraining concerted
            action may be inferred from conduct. Laurel
            Sand & Gravel, 924 F.2d at 542.         However,
            when these actions could be consistent with
            either    (1)     independent   conduct   or   a
            legitimate     business   purpose   or  (2)   an
            illegal agreement, “proof must be offered
            that     tends      to   exclude    the    first
            interpretation” in order to avoid summary
            judgment.     Id.    This is because “antitrust
            law    limits     the   range   of   permissible
            inferences from ambiguous evidence in a § 1
            case.”      Matsushita Elec. Indus. Co. v.
            Zenith Radio Corp., 475 U.S. 574, 588
            (1986).

                 The second element of any § 1 claim
            requires a showing that the restraint on
            competition   is   unreasonable.       Cont’l
            Airlines, 277 F.3d at 508.       In order to
            evaluate this second element, courts use one
            of three methods, depending on the restraint
            alleged: “(1) per se analysis for obviously
            anticompetitive restraints, (2) quick[-]look
            analysis, for those with some procompetitive
            justification, and (3) the full ‘rule of
            reason,’ for restraints whose net impact on
            competition is particularly difficult to
            determine.” Id. at 508-09.

The Supreme Court has long held that “certain concerted refusals

to deal or group boycotts are so likely to restrict competition

without    any   offsetting        efficiency     gains    that      they   should   be

condemned as per se violations of § 1 of the Sherman Act.”

Northwest   Wholesale       Stationers,        Inc.   v.   Pacific      Stationery    &

Printing Co., 472 U.S. 284, 290 (1985) (citing cases).                            Group

boycott    cases      to   which    the   Supreme      Court    has     applied     this

approach    typically        involve      joint       efforts     to     disadvantage

competitors      by    “‘either      directly     denying       or     persuading    or

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coercing       suppliers       or     customers       to    deny   relationships         the

competitors need in the competitive struggle.’”                              Id.     at 294

(quoting L. Sullivan, Law of Antitrust 261-62 (1977)).

        The    parties    disagree        about      the    appropriate      standard     of

review in antitrust cases.                     The Supreme Court of the United

States has specified what a plaintiff must show to avoid summary

judgment on a Sherman Act § 1 claim:

               To survive a motion for summary judgment . .
               .   a  plaintiff   seeking   damages   for  a
               violation of § 1 must present evidence “that
               tends to exclude the possibility” that the
               alleged conspirators acted independently.
               Respondents . . . must show that the
               inference of conspiracy is reasonable in
               light   of   the  competing    inferences  of
               independent action or collusive action that
               could not have harmed respondents.

Matsushita Elec. Indus. Co., 475 U.S. at 587-88.                             Although the

court reviews the facts and all reasonable inferences in the

light     most      favorable       to   the    nonmoving      party,    antitrust       law

“limits       the    range     of    permissible       inferences       from    ambiguous

evidence,”       such    that       “conduct    as    consistent      with     permissible

competition as with illegal conspiracy does not, standing alone,

support an inference of antitrust conspiracy.”                        Id. at 588.        The

Matsushita standard has been applied in cases alleging price-

fixing     and      illegal    restraints       of    trade    such     as   the     alleged

agreement to boycott at issue here.                        See, e.g., In re Titanium

Dioxide       Antitrust       Litigation,       959    F.Supp.2d      799,     820    (D.Md.


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2013)       (applying         Matsushita     standard       on    summary    judgment    to

allegations of price-fixing); Merck-Medco Managed Care, LLC v.

Rite Aid Corp., 201 F.3d 436, 1999 WL 691840 (4th Cir. 1999)

(unpublished        table       opinion)      (applying         Matsushita   standard    on

summary judgment to group boycott allegations).                         “Although it is

clear       that   the    Matsushita        standard       governs    whether    granting

summary       judgment        is   proper,     it     is    equally    clear    that    the

particular facts of each case determine how high a burden that

standard imposes.”              In Re Titanium Dioxide Antitrust Litigation,

959   F.Supp.2d          at    821.        Judge    Bennett’s      explanation    of    the

appropriate         standard          of     review        in    antitrust     cases     is

instructive:5

               Plaintiffs     alleging      an      implausible
               conspiracy face a high burden to show
               evidence that tends to exclude inferences of
               legitimate    competitive    behavior.         By
               contrast,    where    plaintiffs     allege     a
               plausible   conspiracy    –   one   that    makes
               economic sense – a lower “tends to exclude”
               standard applies.    []    Accordingly, when a
               plausible conspiracy has been alleged, a
               plaintiff     need     not     “disprove      all
               nonconspiratorial    explanations      for    the
               defendants’ conduct” to prevail at summary
               judgment.   []   Especially relevant to this
               case, the United States Court of Appeals for
               the Second Circuit has held that where “a
               plaintiff relies on ambiguous evidence to
               prove   its   claim,   the    existence    of   a
               conspiracy must be a reasonable inference
               that the jury could draw from that evidence;

        5
       In Re Titanium Dioxide Antitrust Litigation did not
involve allegations of group boycott, however, as is the case
here.
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            it need not be the sole inference.” [In re
            Publ’n Paper Antitrust Litig., 690 F.3d 51,
            62 (2d Cir. 2012)] (emphasis in original).
            When   determining  whether    a  jury   could
            reasonably    infer   that    there    was   a
            conspiracy,   this   Court   must   view   the
            totality of the evidence.    See [In re High
            Fructose Corn Syrup Antitrust Litig., 295
            F.3d 651, 655-56 (7th Cir. 2002)] (cautioning
            against the supposition that “if no single
            item of evidence presented by the plaintiff
            points unequivocally to conspiracy, the
            evidence as a whole cannot defeat summary
            judgment.”).

In re Titanium Dioxide Antitrust Litig., 959 F.Supp.2d at 821.

      1.    Concerted Action

      The Fourth Circuit explained in North Carolina State Bd. of

Dental Examiners v. F.T.C., 717 F.3d 359, 372 (4th Cir. 2013):

            [T]o be concerted action, the parties must
            have “a conscious commitment to a common
            scheme designed to achieve an unlawful
            objective.”     Monsanto Co. v. Spray-Rite
            Service Corp., 465 U.S. 752, 768 (1984). We
            have indicated there must be “something
            more” than independent action, such as “a
            unity of purpose or a common design and
            understanding, or a meeting of the minds.”
            Parkway    Gallery    Furniture,   Inc.   v.
            Kittinger/Pennsylvania House Group, Inc.,
            878 F.2d 801, 805-06 (4th Cir. 1989).
            Concerted action may be proven by “direct or
            circumstantial evidence.”      Monsanto, 645
            U.S. at 768.

A   party   may   demonstrate   an   agreement   by   direct   evidence   or

circumstantial evidence, or a combination of the two.            West Penn

Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 99-100 (3d Cir.

2010); Merck-Medco Managed Care, LLC, 1999 WL 691840, at *5;



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Laurel Sand & Gravel, Inc., 924 F.2d at 542 (noting that when

there        is    no     direct   evidence           of     antitrust          activity,      “[a]n

agreement          to     restrain       trade     may        be        inferred     from      other

conduct.”).

        AHRN argues that together with brokers and agents around

the country, NAR engaged in a group boycott in violation of

Section 1 of the Sherman Act.                         As will be seen, none of the

evidence – even when viewed in the aggregate - support group

boycott or concerted action.

        a.        Litigation-Related Activity

        First,       in    support       of    its         group        boycott    theory,      AHRN

references         litigation-related            activity          purportedly       spearheaded

by NAR, including a multitude of cease and desist letters that

it received from MLSs around the country beginning in November

2011 around the time of the Anaheim meeting when NAR purportedly

first became aware of AHRN and NeighborCity.                                 (ECF No. 422, at

12; see also ECF Nos. 422-2 through 422-18, cease and desist

letters).           The     gist   of    the     letters           is    that     AHRN   has    been

reproducing and distributing copyrighted works relating to real

estate        listings       on    its     website,           NeighborCity.com,             without

authorization; the letters request that AHRN immediately remove

copyrighted information from its website or risk legal action.

AHRN cites multiple email exchanges between Laurie Janik and

MLSs and their legal counsel regarding an appropriate course of

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action against AHRN.          (See ECF No. 422, at 10-11; ECF Nos. 423-4

through 423-8; ECF No. 422-33, at 5, email from John Mosey of

Northstar MLS, (“[Y]es it is Laurie [Janik] he refers to.                    I

spoke with her last week and she is very interested in having

the NAR take a lead role in a filing again [AHRN.]”).                     AHRN

states:

                 Janik was also in constant communication
                 with MLSs and their legal counsel about
                 AHRN. [] As she coordinated the litigation
                 Janik took steps to prevent the coordinated
                 actions from appearing to be an illegal
                 group boycott.    []   Additionally, NAR not
                 only    orchestrated    this    agreed    upon
                 litigation plan against AHRN, it funded it.
                 []   NAR contributed $35,000.00 to the legal
                 action   brought    by   Northstar    MLS   in
                 Minnesota.

(ECF       No.    422,   at   10-11).    Ms.   Janik   provided   deposition

testimony to explain the rationale for NAR providing funding to

support a lawsuit against AHRN in January 2012:6

                 Q: How was that decision made, to make an
                 initial commitment of $35,000?

                 A:   Well, that decision, actually, was a
                 little irregular.   The decision was made by
                 my boss.   I recommended it to him to use
                 some funds that were left over from an
                 industry settlement of a patent infringement
                 case that involved patent licenses and the
                 Association received more money than we
                 needed to spend for the patent license for
                 the industry because payments were received

       6
        Laurene Janik testified that although NAR allocated
certain funds to support the lawsuit instituted by MRIS, the
funds were not actually paid from NAR to MRIS. (ECF No. 410-4,
at 11). She did not know why MRIS did not accept the funds.
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                 late.   And, in my view, those payments had
                 come in from MLSs, and NAR shouldn’t just
                 put it to the bottom line; that the money
                 came from MLSs, it was related to MLS
                 issues, and, therefore, it should be used on
                 [] some industry-wide issue that affected
                 MLSs.

                      And at this point in time, I had
                 concluded that [] the NeighborCity concern
                 was an industry-wide issue that affected
                 MLSs, and it would be a good place to use
                 the excess funds that had been paid by the
                 MLSs in the CIVIX case.    So I went to Dale
                 Stinton, suggested this use of those funds
                 to him, and he approved it.

(ECF No. 422-1, at 11-12).

       NAR asserts that “the Court has already held that activity

relating to incidents of litigation such as cease and desist

letters [is] immune from liability.”               (ECF No. 411, at 37).     In

the June 10, 2013 opinion adjudicating NAR’s and MRIS’s motions

to dismiss the first amended counterclaims filed by AHRN, Judge

Williams held that “Counterclaim-Defendants are [] entitled to

Noerr-Pennington immunity from AHRN’s § 1 claims to the extent

they       are   based   on   the   filing    of   this   litigation   and   the

incidents of that litigation.”7              (ECF No. 159, at 28) (emphasis


       7
        Judge Williams later reconsidered the June 10, 2013
opinion insofar as it dismissed the claims for violations of
Section 1 of the Sherman Act and unfair competition under
Maryland law as to MRIS because he had to rely on materials
outside the four corners of the complaint in determining the
application of Noerr-Pennington immunity. (See ECF No. 239, at
2).   Summary judgment was granted on both counterclaims as to
MRIS by memorandum opinion and order issued on March 10, 2014.
(ECF Nos. 351, 352, 355).
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added).          Later in the opinion, Judge Williams specified: “[i]t

is not sufficient to allege that Counterclaim-Defendants agreed

to   enforce           their    copyrights       against    AHRN;    MRIS     and    NAR   are

immunized from such a claim for the reasons discussed above.”

(Id.        at    30).          AHRN    argues    that     Noerr-Pennington          immunity

protects parties from litigation based on their petitioning the

court for redress, and that the court’s prior ruling that AHRN

could       not        assert    antitrust       claims    against    MRIS     for    having

instituted this lawsuit is inapplicable to NAR, who did                                    not

institute a copyright infringement lawsuit.                           (ECF No. 422, at

24).        AHRN contends that “[h]ad AHRN’s claims against NAR rested

on incidents of litigation by NAR against AHRN in an attempt to

petition the government, then the Court no doubt would have

stated       that       NAR     was    due   Noerr-Pennington        immunity.”        (Id.)

(emphasis added).

        The Fourth Circuit rejected a similar argument to the one

AHRN lodges here in Balt. Scrap Corp. v. David J. Joseph Co.,

237 F.3d 394, 400 (4th Cir. 2001).                     Plaintiff in that case argued

that        “Noerr-Pennington            protects      litigants      only,     not    third

parties          who    covertly       funded    the   lawsuit.”      Id.      The    Fourth

Circuit remarked that “PRE is not so restrictive as to protect

only the litigant from later antitrust liability.”8                                 See also


        8
       In Professional Real Estate Investors, Inc. v. Columbia
Pictures Indus., 508 U.S. 49, 60 (1993) (“PRE”), the Supreme
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Hosp. Building Co. v. Rex Hospital, 691 F.2d 678 (4th Cir. 1982)

(non-litigants who caused a government entity to file litigation

entitled    to    jury    charge    of   Noerr-Pennington     immunity).          The

Fourth Circuit further reasoned:

             Indeed, non-parties often provide aid to
             litigants,     whether    through    financial
             backing, legal assistance, amicus briefs, or
             moral support.      The fact that an amicus
             brief, for example, might be filed by a non-
             party with some anti-competitive aim does
             not strip from the amicus its           Noerr-
             Pennington right to petition the courts.
             The realities often are that litigation
             cannot be entirely financed out of the
             pocket of the party bringing suit. And the
             costs of supporting a party’s right of
             access to public bodies need not entail the
             defense of a collateral antitrust suit.     To
             hold that only parties who have standing in
             their own right to receive the protection of
             Noerr-Pennington immunity is to artificially
             restrict that doctrine by penalizing even
             the    lawful     support    of    objectively
             meritorious actions. . . . Accordingly,
             because the litigation was not objectively
             baseless, and because the source of funding
             this   lawsuit   in    no  way  affected   the
             legitimacy of the claims advanced, the
             district court correctly held that the
             lawsuit was not sham litigation.

Balt. Scrap Corp., 237 F.3d at 401 (emphasis added).

     Here,       too,    any   support    received    by    MRIS     from   NAR   to

institute     the       lawsuit    against    AHRN   to    protect    copyrighted

materials in no way affected the legitimacy of the copyright

claims.     In any event, regardless of the applicability of Noerr-


Court of the United States fashioned a two-part sham-litigation
test as an exception to Noerr-Pennington immunity.
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Pennington immunity to NAR, AHRN’s reliance on any litigation-

related activity by NAR to support the group boycott theory is

misplaced.         There is nothing unlawful about NAR supporting MLSs

in considering legal action against AHRN, who it believed was

unlawfully misappropriating information related to real estate

listing on its own website without a license authorizing access

to such information.            As NAR argues, “[t]hat NAR communicated

with       representatives     of   MLSs    about    AHRN   has   never   been   in

dispute.       That fact does not, however, create a triable issue as

to whether NAR orchestrated a conspiracy to boycott AHRN.”                      (ECF

No. 411, at 35); see, e.g., Am. Chiropractic Ass’n v. Trigon

Healthcare, Inc., 367 F.3d 212, 227 (4th Cir. 2004) (“At most,

the MCAP meeting shows contact between two independent economic

actors,      but    ‘mere   contacts   and      communications,     or    the   mere

opportunity         to   conspire,     among        antitrust     defendants      is

insufficient        evidence    [of]   an       anticompetitive    conspiracy.’”

(quoting Cooper v. Forsyth County Hosp. Authority, Inc., 789

F.2d 278, 281 (4th Cir. 1986))).9


       9
       AHRN contends that “[t]he letters pouring into AHRN’s
office in the wake of the November 2011 NAR annual meetings is
evidence of NAR’s discouraging local associations, boards,
brokers and agents from dealing with AHRN.”  (ECF No. 422, at
25).    NAR provides evidence, however, that even before the
Anaheim meeting in November 2011 when NAR purportedly became
aware of AHRN’s website, an attorney representing an MLS in
Wisconsin, and not NAR, sent an email to a group of MLSs (and
their attorneys) informing them about the operations of
NeighborCity:
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       b.     Direct Evidence

       AHRN    argues     that   it    has       raised   a    genuine   dispute    of

material fact as to direct evidence of a group boycott, relying

on a single conversation between Paulette Carroll, a broker, and

a representative of NeighborCity.                 “Direct evidence is extremely

rare   in     antitrust    cases      and   is    usually     referred   to   as   the

‘smoking      gun.’”      Trigon      Healthcare,     Inc.,     367   F.3d    at   226.

Direct evidence in the § 1 antitrust context is “explicit and

requires      no   inferences         to     establish        the   proposition     or

conclusion being asserted.”                 Id.     The “direct evidence” AHRN



                   It appears that there is a website
              (neighborcity.com) which is displaying some
              of the copyrighted data of my client.    A[]
              quick check of this site reveals that they
              are not limited to Wisconsin but also
              display some but not all other areas
              (Chicago   [49,000   listings],  Minneapolis
              [5000 listings], Detroit [726 listings],
              Denver [10877 listings]) in which I would
              strongly suspect they do not have consent to
              do so.

                   My clients in Wisconsin are proceeding
              with the proper ways to protect ourselves
              and hold them accountable, but the people
              involved make me suspect that this is not a
              fly-by-night operation.      Accordingly, I
              would like to know if any of you have had
              any contact or interaction with either
              neighborcity.com or the company American
              Home Realty Network, Inc. or it[s] CEO
              Jonathan Cardella.

(ECF No. 410-27, at 2; see also ECF No. 410-21 (Aug. 27, 2010
cease and desist letter); 410-22 (Mar. 22, 2011 cease and desist
letter).
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offers to show group boycott is by no measure a “smoking gun”

and is ambiguous at best.         Specifically, AHRN relies on the

following exchange between Ms. Carroll and Alex Gilbert, an AHRN

representative, as direct evidence:

          Alex Gilbert: . . . I was actually reaching
          out because I wanted to discuss a broker-to-
          broker referral with you.

          Paulette Carroll: Yeah.        Um, you know what?
          I’ve been advised not          to take any from
          Neighborhood City.

          Alex Gilbert: Oh really?          And, and why is
          that?

          Paulette Carroll: Because of the lawsuit
          that’s going on with Neighborhood City.

          Alex Gilbert: Ok.   And who was it that had
          advised you not to take out referrals?

          Paulette Carroll: Just out of our – out of
          our office.

          Alex Gilbert: Out of          –   OK.     Like   the
          national association?

          Paulette Carroll: Yeah.       Mmmhmmm.

          Alex Gilbert: Oh.     Alright.  That’s very
          strange.   Have they sent off and mailed to
          you or something like that?

          Paulette Carroll: No.    It’s brought up in
          our team meeting every week.

          Alex Gilbert: Oh – every week, really?

          Paulette Carroll: Because of the lawsuit.

          . . .



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            Alex Gilbert: So, is the broker the one
            who’s kind [of] been in contact with the
            national association and now they’re just
            telling him not to work with us?

            Paulette Carroll: I’m not sure what the –
            I’m not sure what the connection is.

            Alex Gilbert: Gotcha, but they              just    kind
            [of] passed down the message?

            Paulette Carroll: Yup.         Mmmhmmm.
            . . .

            Alex Gilbert: . . . I’m not fully apprised
            of what the whole lawsuit entails, but I’ve
            actually never heard anybody been advised by
            the   national   association  to  not   take
            referrals from us.

            Paulette Carroll: Yeah. Yeah. So, I don’t
            know.   I mean, it’s our option. It’s our
            option in the end.

            Alex Gilbert: Uh-huh.

            Paulette Carroll: It is our option,                  but
            they’ve put it out there, definitely.

            Alex Gilbert:     Gotcha.      And . . .

            Paulette Carroll: With the lawsuit, it’s
            conflict of interest or whatever, you know.

(ECF No. 423-13, at 2-3) (emphases added).

       The above phone conversation that AHRN relies on as direct

evidence of concerted action falls far short of the standard

that it be “explicit and require no inferences.”                    See Golden

Bridge Technology, Inc. v. Motorola, Inc., 547 F.3d 266, 271 (5th

Cir.     2008)    (“Direct    evidence       explicitly        refers   to   an

understanding       between     the     alleged        conspirators,     while

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circumstantial evidence requires additional inferences in order

to support a conspiracy claim.”).                  Nowhere in the call does Ms.

Carroll identify an explicit agreement orchestrated by NAR to

encourage brokers and/or agents not to deal with AHRN.                                  Indeed,

as NAR argues, the NeighborCity representative – and not Ms.

Carroll – mentioned the national association – and Ms. Carroll

stated that they were advised out of their office not to take

referrals from AHRN.             (See ECF No. 429, at 14).                     Indeed, when

asked whether the national association was in contact with the

broker and advised it not to work with AHRN, Ms. Carroll stated

that she was “not sure what the connection is.”                           She also stated

that the broker had the option not to take referrals from AHRN

considering        the    copyright    infringement          lawsuit.            See,     e.g.,

Golden Bridge Technology, Inc., 547 F.3d at 272 (“Viewing the

evidence favorably to GBT, the emails do reveal a common dislike

for   CPCH       among    some   of   the    Appellees       and     other           companies.

However,      common      dislike     is     not       the   same        as     an     explicit

understanding to conspire, so we accordingly review GBT’s claim

under      the     stricter      standard        required       for           circumstantial

evidence.”);        cf.    Tunica     Web     Advertising           v.        Tunica     Casino

Operators Ass’n, Inc., 496 F.3d 403, 410 (5th Cir. 2007) (finding

that email communications show conspiracy because they contain

direct     evidence       stating     that       the     parties         entered       into   a

“gentlemen’s agreement” not to deal with another company).

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       Moreover,      Ms.    Carroll   gave    deposition       testimony      stating

that NAR never advised her not to accept referrals from AHRN.

Specifically, she stated that her husband, a real estate agent

and    business       partner,      advised     her    to   stop     working        with

NeighborCity.      (ECF No. 410-51, at 3).              She stated: “We felt it

was not in our best interest to work with Neighborhood City

because of a potential lawsuit.               We decided that we did not want

to jeopardize our career, our license or be involved in any type

of    legal   matter.”        (Id.).      Ms.    Carroll        stated   during      her

deposition     that    she    has   “never    had     contact    with    NAR   at   any

level,” only with NAR’s lawyers in the instant litigation.                          (Id.

at 4).        Ms. Carroll explained the phone call with the AHRN

representative:

              A: The phone call was very off the cuff. I
              was busy, I wasn’t expecting to have a
              lengthy   phone  call   with   anybody  from
              Neighborhood City.  I have -- I’ve answered
              the questions as well as I could, many of
              them.   If you listen to the recording you
              can hear the little bit of chaos going on in
              the background.      I was in an office
              situation. And had they asked me for a time
              to have a conversation with them, if it was
              an appropriate time if I had time for them,
              I would have gone to my office where it was
              a closed door, and I did not do that because
              I did not realize where this was going.    I
              have never had any conversation from NAR,
              I’ve never had any e-mails, phone calls,
              other than a monthly newsletter, which I
              never read.

              Q:   And  you  indicated  that  the  only
              discussion you had at these team meetings

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              about   NeighborCity         was     after   that        one
              meeting?

              A: The only discussion that I have ever had
              about Neighboorhood City with the other
              agents was after the team meeting.

              Q: That one time?

              A: One time.

(ECF No. 410-51, at 5) (emphases added).                   Consistent with her

deposition      testimony,      Ms.      Carroll    submitted     a     declaration

stating that “[n]o one in my brokerage has ever told me that

[NAR] advised the brokerage not to do business with AHRN.                      I was

never instructed by NAR, NorthstarMLS, or my broker that I was

not to enter into referral agreements with AHRN.                       The decision

not to accept additional referrals from AHRN was entirely my own

and based on my disapproval of AHRN’s use of agent listings

without permission.”        (ECF No. 410-52 ¶ 4).

       Based on the foregoing, the telephone recording on which

AHRN relies as direct evidence of concerted action is ambiguous,

relies on inferences of a conspiracy orchestrated by NAR, and

does not establish direct evidence of a group boycott.                          See,

e.g., Hyland v. HomeServices of America, Inc., 771 F.3d 310, 319

(6th   Cir.    2014)   (“Like      the    district    court,      we    view   Jerry

McMahan’s statements at the hearing as ambiguous at best and

they    therefore      do    not      establish      direct     evidence       of   a

conspiracy.”).


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      c.     Circumstantial Evidence

      AHRN    also      relies        on     circumstantial        evidence        to   show

concerted action.           To show concerted action, AHRN asserts that

“NAR has encouraged regional boards of realtors to step up their

efforts    (1)     to   keep    their        member     agents     from    entering     into

referral     agreements        with    AHRN;       [(2)]   to    breach     or    repudiate

referral agreements agents have entered with AHRN; and (3) to

pressure agents into demanding that their names be stricken from

AHRN’s list of potential referral agents.”                       (ECF No. 167 ¶ 112).

AHRN also cites an excerpt from the NAR Handbook and the Realtor

Excellence Program developed by NAR as further establishing a

plausible inference of a group boycott.                         As will be seen, none

of   the   circumstantial         evidence         purporting      to     show    concerted

action establishes a plausible conspiracy and does not tend to

exclude      the    possibility            that    MLSs    acted     independently        in

deciding not to deal with AHRN, motivated by their desire not to

associate with a company embroiled in litigation for copyright

infringement and whose business model was unappealing.

      AHRN    contends      that       it     received        formulaic    letters      from

brokers repudiating previous agreements and requesting not be

contacted     by    AHRN,      purportedly         at   the     behest    of     NAR.    For

instance, one such letter stated:

             It has come to my attention that American
             Home Realty Network, Inc. d/b/a NeighborCity
             (“NeighborCity”) has been soliciting or may

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             intend in the future to solicit agents of
             Champion Realty, Inc. to ask them to execute
             referral agreements that purport to bind
             Champion Realty, Inc.     Please be advised
             that Champion Realty, Inc. has no interest
             in entering into any referral or other
             agreements with NeighborCity, and Champion
             Realty, Inc. has not authorized any of its
             agents to execute any such agreement with
             NeighborCity on its behalf.

                  Accordingly, to the extent any agent
             has executed an agreement with NeighborCity
             that purports to bind Champion Realty, Inc.,
             that agreement is void and of no legal
             effect.     Alternatively, Champion Realty,
             Inc. hereby terminates any such agreement.

(ECF No. 422-22, at 2; see also ECF Nos. 422-23 through 422-25).

AHRN essentially asks the court to infer concerted action at

NAR’s     direction     from,    among     other     things,     the   fact    that    it

received a plethora of similar correspondence from real estate

professionals        around     the   country      either   repudiating        referral

agreements or refusing to accept referrals from AHRN.                         AHRN does

not   present       sufficient    evidence,      however,      to   show    “that     the

inference      of    conspiracy       is   reasonable”      in      light     of   NAR’s

competing inference of independent action.                  Matsushita, 475 U.S.

at 588.       Moreover, parallel behavior alone is not enough to

prove a conspiracy.           See Theatre Enterprises v. Paramount Film

Distributing Corp., 346 U.S. 537, 541 (1954) (“[T]his Court has

never held that proof of parallel business behavior conclusively

establishes         agreement     or,      phrased     differently,         that    such

behavior itself constitutes a Sherman Act offense.”).                          NAR has

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produced evidence that agents and brokers acted independently in

refusing to deal with AHRN and for a variety of reasons.                                  See,

e.g.,     Golden      Bridge        Technology,          Inc.,     547      F.3d    at     271

(“Independent         parallel         conduct,          or    even       conduct        among

competitors         that    is   consciously            parallel,     does     not       alone

establish the contract, combination, or conspiracy required by §

1”); Twombly, 550 U.S. at 554 (“[A]t the summary judgment stage

a § 1 plaintiff’s offer of conspiracy evidence must tend to rule

out      the    possibility          that        the      defendants        were      acting

independently.”).

        Specifically,         NAR      provides           declarations         from        MLS

representatives stating that they have not entered into any kind

of agreement with any other MLS or NAR or any other party not to

deal with AHRN and NAR has not instructed or encouraged them not

to deal with or license data to AHRN.                            (See ECF Nos. 410-53

through 410-65).            One such MLS representative declares that he

“reached out directly and only to AHRN when [he] learned that

NeighborCity         was     displaying          FMLS    listing       content       without

authorization.”            (ECF No. 410-54 ¶ 8) (emphasis added).                         The

declarations         reflect        that     MLSs        and      other      real     estate

professionals decided not to deal with AHRN for a multitude of

independent reasons, including the fact that AHRN voluntarily

relinquished        its    membership       in    MLSs    around      the    country,     yet

continued      to    display     MLS    data      on     the     NeighborCity       website.

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(See, e.g., ECF No. 410-56 ¶ 3 (“Around the beginning of 2011,

CREN continued an audit of all IDX feeds and determined that

AHRN was still displaying CREN listings, even though it was no

longer a member.      I continued to monitor the site and discovered

th[at] AHRN was continuing to post new CREN listings even though

CREN was no longer sending AHRN an IDX feed.”); see also ECF No.

411-19 (“I have no desire to work with neighborhood city.                  As

long    as   you[’]r[e]    stealing    data    from   MLS[s]   around     the

country[,] I have no intention of paying you for a referral, why

should I?      You don’t pay my MLS [] that brings you the leads in

the    first    place.       Remove    me     from    your   mailing      list

immediately.”)).       Many real estate professionals chose not to

deal with AHRN because they found the terms of the proposed

referral agreement unacceptable.           (See ECF No. 410-64 ¶ 6 (“On

February 28, 2012, I sent Mr. Miller an email, declining AHRN’s

proposal for a custom license, as we found the terms proposed by

AHRN to be unacceptable, particularly given the broad rights to

use MLSLI’s data that the proposed license would grant AHRN.”);

ECF No. 411-22, at 2 (“After reviewing your agreement (which is

not available until you agree to accept it), I have many issues

with the terms and will not allow my agents to participate.”);

ECF No. 411-23, at 2 (“Please remove me from your referral list.

I was not able to read the terms and conditions before I signed

up.    I don’t agree with them.”); ECF No. 411-24 (“I do not pay

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ANYONE 30% and the property is sold!                     I am in business to make

money not support you!”) (emphasis in original)).                                Other MLSs

found the information on the NeighborCity website misleading or

inaccurate and refused to deal with AHRN for that reason.                                    (See

ECF     No.    411-26,       at   2    (“Remove        all    profiles          from    agents

affiliated       to    Huntley        Estates.         The    one    you        have    of    me

specifically is GROSSLY incorrect! . . . Your site is deceitful

to say the least.”); ECF No. 411-27 (“I have some huge concerns

over     the    misrepresentation,             lies,     and       slander       I’ve        seen

regarding       your      profile        you     have        set     up      for        me    on

neighborcity.”); ECF No. 411-28 (“Your website is very out of

date.     You have people listed as being with my firm who are not

even licensed anymore.”)); see also ECF Nos. 411-29 through 411-

31).

        AHRN   also    references       a   purported        conversation          between     a

real estate agent and an AHRN representative as also evidencing

a     conspiracy      when    examined      in    conjunction          with       the    other

evidence cited.          Specifically, AHRN relies on notes taken by an

AHRN     employee,      Shannon        Burns,    which       purport       to     reflect      a

telephone exchange with Kent Meister, a real estate agent from

Minnesota.      Her notes indicate:

                    Kent Meister, an agent with Keller
               Williams Classic Realty in Minnesota called
               NeighborCity on Friday afternoon, May 3rd,
               2013 asking to speak with Devon, one of the
               Company’s Client Advocates, regarding a

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            referral invitation sent to him on May 2nd
            for Joseph & Mimi Toto.          Shannon at
            NeighborCity answered the call[] and Mr.
            Meister asked, “I’m just curious, are you
            guys aware of the local lawsuit against
            you?”     Further,   he  said  “We’ve   been
            contacted by our Board about it, so word of
            caution, you’re peppering our agents with
            these emails and I’m sure they’re getting
            logged and will be used in a court of law
            against you.”   He asked to be removed from
            our system until the lawsuits are resolved.
            He says there are “many people in the area
            who are going to use this all against you.”
            I asked if he had a question I could help
            him with and he said no and the conversation
            ended.

(ECF No. 422-27, at 2) (emphasis added).               Even assuming this

transcription purporting to show what Mr. Meister expressed on

the call were admissible, all this transcription indicates is

that a real estate agent did not want to be contacted by AHRN

until the lawsuits were resolved and that some Board contacted

his firm about AHRN’s lawsuit and/or persistent communications

regarding referrals.      Whether the reference to the Board means

NAR also is ambiguous, and the court cannot extrapolate as much

from the above transcription.          Even assuming NAR contacted Mr.

Meister or his agency about AHRN, there is nothing unlawful

about sharing information regarding the lawsuit against AHRN.

See, e.g., Cooper, 789 F.2d at 281 (“Indeed, the federal courts

consistently      have    recognized       that     mere      contacts       and

communications,    or    the   mere   opportunity     to     conspire,   among

antitrust   defendants    is   insufficient       evidence    from   which   to

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infer an anticompetitive conspiracy.”); see also Consol. Metal

Prods., Inc. v. Am. Petroleum Inst., 846 F.2d 284, 295 n.30 (5th

Cir.    1988)    (noting   that   “a   trade   association    is    not    by   its

nature     a    ‘walking   conspiracy[,]’      its   every   denial       of    some

benefit amounting to an unreasonable restraint of trade” and

that     the    mere   exchange   of   information,    or    even   consciously

parallel action, is insufficient to establish a conspiracy under

§ 1).

        Any reliance by AHRN on excerpts from the NAR handbook to

show group boycott also is misplaced.                The portion of the NAR

handbook relied upon by AHRN states:

                    In   states    other  than   California,
               Georgia, Alabama, and Florida, whenever an
               association is confronted with a request or
               demand by an individual for access to the
               association’s    multiple   listing   service
               without   membership   in  the   association,
               membership associations are advised that the
               association should immediately advise both
               the state association and the Member Policy
               Department of the National Association, and
               the recommended procedures will be provided
               to the member association with any other
               pertinent information or assistance.    It is
               important that the state association and
               National Association be advised immediately
               if such request or demand for access to the
               association MLS as described is received.

(ECF NO. 167 ¶ 117; ECF No. 423-3, at 19, NAR Handbook).                   As NAR

argues, this provision “addresses only demands by someone who is

not an MLS participant for direct access to the MLS data.                        It

has nothing to do with whether an MLS may license data to third-

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parties, like AHRN, who are not members of the MLS.”                 (ECF No.

411, at 31).     Thus, this excerpt from the NAR Handbook, even

when considered in conjunction with all of the other evidence

that AHRN offers, does not establish a common scheme designed to

achieve an unlawful objective.          Indeed, it is uncontested that

AHRN voluntarily surrendered its participation in various MLSs

for financial reasons, losing the right to obtain MLS data.

(See ECF No. 410-11, at 3, Cardella depo.).

     Finally, AHRN contends that “[t]he course of discovery has

produced   evidence   that   suggests    that   NAR    created   a   program,

named the Realtor Excellence Program (REP), to compete directly

with AHRN.   Given the identical purpose of the two agent rating

systems, a reasonable jury could find that the creation of REP

was designed to push AHRN out of the market in furtherance of

the NAR led boycott.”         (ECF No. 422, at 37).              Through its

AgentMatch   software   system,   AHRN    offers      performance    metrics,

rankings, and statistics regarding real estate agents to match

consumers to the “best agent” for their needs.               (See ECF No.

422-31, at 4-15, Cardella depo).         AHRN’s evidence purporting to

show that the Realtor Excellence Program, a pilot program, was

created by NAR as part of the group boycott to compete with

AHRN’s AgentMatch program is ephemeral.            AHRN relies primarily

on an email from Gregg Larson, the CEO of Clareity Consulting,



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in   which    he    summarized   his     communications   with   Jonathan

Cardella, CEO of AHRN, and referenced the AgentMatch program:

             NeighhborCity is “going for it” – making the
             case that anyone should be allowed to
             display the listing data and their agent
             performance rankings and unique consumer
             matching will have great value to buyers and
             sellers (I think this is his jewel –
             Realtor.com might want to look into it –
             maybe license or buy it? I can explain more
             about how it works – it’s the best I’ve
             heard of so far).

(ECF No. 423-4, at 3) (emphasis added).             Nothing about this

correspondence suggests that NAR created the Realtor Excellence

Program to compete with AHRN; if anything, the email shows that

Gregg Larson thought that licensing or buying AgentMatch was

worth considering.

     Laurene Janik provided the following deposition testimony

regarding     how   the   Realtor      Excellence   Program   came      into

existence:

             A: [] Mr. Romito, if I recall correctly,
             called me in Chicago shortly after the
             Anaheim meeting because he became aware of
             the   NAR    strategic   plan,  which   was
             [ap]proved, I believe, at that meeting and
             talked about increasing the professionalism
             of agents.     He contacted me immediately
             after the meeting to talk about ways that .
             . . NAR could perhaps, use his program to
             help achieve that objective.

             Q: And what was his program?

             A: His program is a survey.    It originally
             started out 12, 13 years ago where a broker,
             brokerage would send out – or QSC [Quality

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     Service Certification] would send out a
     paper survey to a home buyer or a home
     seller, whoever the brokerage represented in
     a particular transaction; the consumer would
     complete that paper survey; send it to QSC;
     QSC, then, would share the results of those
     surveys with the broker.     And the survey
     told the broker how well their agent
     performed in that particular transaction,
     how satisfied the consumer was with the
     services provided by that broker’s agent in
     that transaction.

          It has since been put online, provided
     there’s an e-mail address provided to QSC so
     that    QSC   can    e-mail   the    customer
     satisfaction survey to the buyer or the
     seller, whoever it was, or both, if the
     brokerage    represented    both    in     the
     transaction; the buyers and sellers complete
     the survey; it goes back to QSC; and, then,
     QSC shares those results with the brokers.

     Q: Prior to 2011, November of 2011, had you
     had any discussions with Mr. Romito or is
     this the first time you had –

     A: Oh, no. I’ve known Larry. Larry started
     this company, it says, 13 years ago. . . .
     And Larry made me familiar with his QSC
     certification when he created it. . . . So,
     he had all of that bundled together.        He
     was,   at   least   at   this   point  in  his
     conversation with me, willing to unbundle it
     and make a deal.     So if the cost had come
     down, it was something that I was interested
     in.    Because, based on his statistics, it
     showed    agent   behavior   modification;  it
     showed increase in client satisfaction on
     the buy and the sell side, a jump in highly
     satisfied consumers; and a decrease in
     highly dissatisfied consumers, which, to me,
     meant a decrease in litigation against our
     members and a bump in professionalism, both
     areas that I was responsible for as general
     counsel.


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(ECF    No.   410-4,      at    13)    (emphases         added).        This   deposition

testimony suggests that the idea for REP as a pilot program had

nothing to do with AHRN.                Indeed, Ms. Janik further testified

that in her mind, there was “[n]o connection whatsoever” between

the implementation of REP and the communications she was having

with various individuals regarding NeighborCity.                           (Id. at 16).

She stated that NeighborCity did not come up in any of her

discussions with representatives of associations or brokers or

agents when discussing REP.

       AHRN argues in its opposition that “REP was designed to

replicate the features of AgentMatch, but was marketed through

NAR    and    as    a    way     for    members         of   NAR   to     protect    their

reputation.”            (ECF     No.   422,        at   38).       AHRN    provides     no

evidentiary        support       for    this       assertion,      which       is   wholly

speculative.        Aside from the single email from Gregg Larson

discussed above, AHRN has not identified anything else on the

record establishing that NAR created REP as part of the group

boycott to compete directly with AgentMatch.                       AHRN cites emails

between      Ms.   Janik       and   others     showing       regular     communications

about REP, but the emails show that NAR was taking certain steps

to roll out this pilot program, not that it was designed to

compete with AgentMatch.               (See ECF Nos. 422-28 through 422-30);

see, e.g., Matsushita, 475 U.S. at 588 (“[C]onduct as consistent

with   permissible        competition      as      with      illegal    conspiracy    does

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not,        standing      alone,     support        an     inference     of     antitrust

conspiracy.”           (citing Monsanto, 465 U.S. at 764)).                    Indeed, in

one such email, Ms. Janik informs the group of a meeting time to

discuss the quality service certification program and references

Larry Romito, whom she credited in her deposition as having

developed the program which became of interest to NAR.                           (See ECF

No. 423-16); see, e.g., Merck-Medco, 1999 WL 691840, at *15 (“We

must    avoid       the   danger    of    an   inevitable      competition       chilling

result       that    would   occur       should     a    low   quantum    of    proof   be

required before a party may harness the power of the Sherman

Antitrust       Act       against    facially,           legitimate,     procompetitive

business practices.”).

       Based on the foregoing, all of the evidence viewed together

does not create a reasonable inference of concerted action and

group boycott.            Thus, judgment will be entered in favor of NAR

on the only two remaining counterclaims for violation of Section

1 of the Sherman Act and unfair competition under Maryland law.10

       B.      Motions to Seal

       The parties filed three motions to seal concerning their

filings related to the motion for summary judgment.                             (See ECF

Nos. 412, 424, 430).               The motions are insufficient and will be

       10
       AHRN also relies on the “group boycott” theory to show an
unreasonable restraint of trade by way of a “per se” violation
of Section 1 of the Sherman Act.      For the reasons explained
above, it has not established a group boycott, thus its
antitrust claim cannot survive summary judgment.
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denied without prejudice to the filing of properly supported

motions.

     The Fourth Circuit recently reminded us that:

           It is well settled that the public and press
           have a qualified right of access to judicial
           documents and records filed in civil and
           criminal     proceedings.     See      Richmond
           Newspapers, Inc. v. Virginia, 448 U.S. 555,
           580 n. 17, 100 S.Ct. 2814, 65 L.Ed.2d 973
           (1980);   Nixon v. Warner Communications,
           Inc., 435 U.S. 589, 597, 98 S.Ct. 1306, 55
           L.Ed.2d 570 (1978); Media Gen. Operations,
           Inc. v. Buchanan, 417 F.3d 424, 428 (4th
           Cir. 2005). The right of public access
           springs from the First Amendment and the
           common-law tradition that court proceedings
           are presumptively open to public scrutiny.
           Va. Dep't of State Police v. Wash. Post, 386
           F.3d   567,   575   (4th  Cir.    2004).   “The
           distinction between the rights of access
           afforded by the common law and the First
           Amendment is significant, because the common
           law does not afford as much substantive
           protection to the interests of the press and
           the public as does the First Amendment.” In
           re United States for an Order Pursuant to 18
           U.S.C. Section 2703, 707 F.3d 283, 290 (4th
           Cir. 2013) (quoting Va. Dep't of State
           Police, 386 F.3d at 575) (internal quotation
           marks omitted). The common-law presumptive
           right of access extends to all judicial
           documents and records, and the presumption
           can be rebutted only by showing that
           “countervailing interests heavily outweigh
           the public interests in access.” Rushford
           [v. New Yorker], 846 F.2d [249,] 253 [4th
           Cir. 1988]. By contrast, the First Amendment
           secures   a   right    of  access    “only   to
           particular judicial records and documents,”
           Stone [v. Univ. of Md. Med. Sys. Corp.], 855
           F.2d [178,] 180 [4th Cir. 1988], and, when it
           applies, access may be restricted only if
           closure is “necessitated by a compelling
           government interest” and the denial of

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             access is “narrowly tailored to serve that
             interest,” In re Wash. Post Co., 807 F.2d
             383, 390 (4th Cir. 1986) (quoting Press–
             Enter. Co. v. Superior Court, 464 U.S. 501,
             510, 104 S.Ct. 819, 78 L.Ed.2d 629 (1984)
             (internal quotation marks omitted)).

Doe v. Public Citizen, 749 F.3d 246, 265-66 (4th Cir. 2014).                    In

addition, Local Rule 105.11 requires the party seeking sealing

to include “(a) proposed reasons supported by specific factual

representations to justify the sealing and (b) an explanation

why     alternatives     to    sealing     would   not    provide       sufficient

protection.”

        The parties in this case were advised at least once before

that     “[t]he    burden     is   on    the   party     seeking      confidential

treatment to justify it” and that the party seeking to seal

documents must justify the motion, provide redacted portions of

documents that can be filed if that is possible, and consider

alternatives to sealing.           (See ECF No. 355, at 41, March 10,

2014 memorandum opinion).               Nevertheless, the motions to seal

contain     only   boilerplate     recitations,        citing   the    Protective

Order     and   the    “attorney’s      eyes   only”     designations     on   the

applicable documents.         The submissions indicate that the parties

seek to seal in their entirety their memoranda in connection

with the motion for summary judgment and multiple exhibits.                    The

parties have made no attempt to redact portions of the filings

as opposed to sealing the documents in their entirety.                         See


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Visual Mining, Inc. v. Ziegler, No. PWG 12-3227, 2014 WL 690905,

at *5 (D.Md. Feb. 21, 2014) (denying motion to seal when the

only    justification       was   that   the    documents      are     “confidential”

under a court-approved Protective Order); Under Armour, Inc. v.

Body Armor Nutrition, LLC, No. JKB-12-1283, 2013 WL 5375444, at

*9 (D.Md. Aug. 23, 2013) (denying motions to seal where “[t]he

parties . . . provided only the barest support for the motions,

usually relying on the protective order issued in th[e] case”

and    failed    to   “provide     ‘specific     factual      representations’         to

justify     their     argument”);    Butler     v.    DirectSAT       USA,    LLC,     876

F.Supp.2d 560, 577 n.18 (D.Md. 2012) (“In their motion to seal,

Plaintiffs      state      only   that   they    seek    to    seal     the    exhibits

pursuant        to    the     confidentiality         order,      an     explanation

insufficient to satisfy the ‘specific factual representations’

that Local Rule 105.11 requires.”).                   Indeed, it is not at all

clear    why    all   of    the   memoranda     and   many    exhibits        should   be

sealed in their entirety from the public.

        For its part, NAR states it does not necessarily agree with

all of the documents it has submitted for sealing, but has moved

to      seal     nonetheless       because      of      AHRN’s       confidentiality

designations.         (See ECF No. 412, at 4).            In response to AHRN’s

motion to seal - which also erroneously relies exclusively on

the confidentiality and “attorney’s eyes only” designations as

justifications for sealing – NAR states that it agrees with

                                         40
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AHRN’s motion only insofar as it seals to keep sealed Exhibits

PP, QQ, and RR (ECF Nos. 422-28 through 422-30).                  Citing ECF No.

405, NAR submits that “[t]he Court already has determined that

Exhibits PP, QQ, and RR contain confidential information that

support sealing, having previously granted NAR’s motion to seal

those documents.”          (ECF No. 425, at 2).             ECF No. 405 is a

paperless order approving a motion to seal, but it is not clear

at all why Exhibits PP, QQ, and RR need to be sealed in their

entirety.        Based on the foregoing, the parties may resubmit

their     motions   to    seal,   justifying       any    sealing   or     proposed

redactions.       In the meantime, the summary judgment submissions

will    remain   temporarily      under    seal.     If    the   parties    do   not

timely renew their motions, the sealed filings will be unsealed.

        Finally, the court will not undertake to determine whether

any portion of this Memorandum Opinion will be filed under seal.

Accordingly, the Memorandum Opinion will be filed under seal

temporarily,      and    the   parties    are   directed    to   review     it   and

request jointly within fourteen (14) days from this memorandum

opinion any necessary redactions that should be made before it

is released to the public docket.




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IV.   Conclusion

      For   the    foregoing   reasons,    NAR’s   motion    for   summary

judgment will be granted.         The three motions to seal will be

denied.

      A separate order will follow.



                                             /s/
                                   DEBORAH K. CHASANOW
                                   United States District Judge




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